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                EXHIBIT B
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December 16, 2022


Susan Williams Bill
The Transformation Project, Inc.
401 E. 8th St. Suite 214-3022
Sioux Falls, SD 57103
(605) 610-8579
susan@transformationprojectsd.org

Sent via email and U.S. mail

RE: Termination of State Contract #23SC090939

Dear Ms. Bill,

       This letter is notice of the State’s termination of contract #23SC090939
(“Contract”) with cause. Under the contract, the Transformation Project, Inc. was
obligated to:

          •      Create a Community Healthcare Worker (“CHW”) Program with “at least
                 one certificate-level CHW.” (Contract Page 1, ¶ F[1]).
          •      Develop infrastructure for the CHW program, including billing,
                 documentation, human resources, marketing, and communication.
                 (Contract Page 1, ¶ F[2]).
          •      Develop awareness efforts so providers understand the CHW program.
                 (Contract Page 1, ¶ F[3]).
          •      Participate in the Community Health Worker Collaborative of South
                 Dakota annual conference. (Contract Page 1, ¶ F[4]).
          •      Collect and share clinical data to evaluate the CWH program, as required
                 by the Centers for Disease Control and Prevention. (Contract Page 2, ¶
                 F[6]).
          •      Provide success stories using the provided template. (Contract Page 2, ¶
                 F[7]).
          •      Acknowledge the Department of Health as the funding source for funded
                 materials. (Contract Page 2, ¶ F[8]).
          •      Utilize existing CHWSD or DOH resources prior to developing new
                 materials. (Contract Page 2, ¶ F[9]).
          •      Provide quarterly report to the CHWSD and the State for Quarter 1 (June
                 1st to August 30th), Due Sept. 15, 2022. (Contract Page 2, ¶ F[10(a)]).
          •      Provide quarterly report to the CHWSD and the State for Quarter 2 (Sept.
                 1st to Nov. 31st), Due Dec. 15, 2022. (Contract Page 2, ¶ F[10(b)]).


       600 E. Capitol Ave. | Pierre, SD 57501 | Phone: 605-773-3361 | Fax: 605-773-5683 | doh.sd.gov
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       The Transformation Project, Inc. failed to perform these obligations under the
Contract. Accordingly, the State finds you in material breach of the Contract. Pursuant
to Contract Page 4, ¶ C, the State may terminate “for cause at any time, with or without
notice.” Accordingly, the Contract is terminated effectively immediately.

      Any outstanding payment will be made consistent with SDCL Chapter 5-26.

Sincerely,




Lynne Valenti, J.D.
Deputy Secretary
605-773-6188
lynne.valenti@state.sd.us




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